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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -----------------------------------X

  UNITED STATES OF AMERICA

         -against-                                   MEMORANDUM & ORDER

  TYQUAN MIDYETT,                                    07-CR-874 (KAM)

                         Defendant.

  ------------------------------------X

  MATSUMOTO, United States District Judge:

              Defendant Tyquan Midyett is charged in a February 2009

  superseding indictment (“Indictment”) with one count of

  conspiring, between May 2006 and December 2007, to distribute

  and possess with intent to distribute cocaine base in violation

  of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A)(iii) (Count 1);

  three counts of distributing and possessing with intent to

  distribute cocaine base in violation of 21 U.S.C. §§ 841(a)(1),

  in, on and within 1,000 feet of (a) the real property comprising

  a private elementary and secondary school, and (b) the real

  property comprising a housing facility owned by a public housing

  authority in violation of 21 U.S.C. § 860(a) (Counts 2, 5 & 10);

  and one count of possessing a firearm after having previously

  been convicted of a crime punishable by a term of imprisonment

  exceeding one year in violation of 18 U.S.C. § 922(g)(1) (Count

  11).
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             Pending before the court is Midyett’s oral motion,

  first raised on February 23, 2009 following jury selection, to

  preclude the government from playing a portion of the December

  7, 2006 video clip of an alleged drug transaction involving

  Midyett and a confidential informant (“CI”) to the jury.1

  (Transcript of Jury Selection on February 23, 2009 (“2/23/09

  Tr.”), at pp. 281-83, 286-89; see Government Exhibit (“GX”) 54,

  video clip 12.7.2006_CD9.wmv (“12/07/06 Vid. Clip”); GX 5A,

  Transcript of 12.7.2006_CD9.wmv video clip (“12/07/06 Vid.

  Tr.”); GX 5, 12/07/2006 Video, including transaction between

  confidential informant and Midyett, in its entirety (“Complete

  12/07/06 Vid.”).       Midyett seeks to preclude that portion of the

  video clip wherein the CI has an individual conversation with an

  unidentified female (“UF”).       (2/23/09 Tr. at pp. 282-283.)

  Midyett identifies the conversation he seeks to preclude as




  1
            Although Midyett did not specifically move to preclude
  the corresponding objectionable sections of the 12/07/06 video
  clip from the 12/07/06 transcript and the complete 12/07/06
  video, the court shall consider the motion as seeking to
  preclude the government from introducing the objectionable
  sections from all three sources, i.e., the 12/07/06 video clip,
  the transcript and the complete video. (Transcript of Jury
  Selection on February 23, 2009 (“2/23/09 Tr.”), at pp. 281-83,
  286-89; see Government Exhibit (“GX”) 54, video clip
  12.7.2006_CD9.wmv (“12/07/06 Vid. Clip”); GX 5A, Transcript of
  12.7.2006_CD9.wmv video clip (“12/07/06 Vid. Tr.”); GX 5,
  12/07/2006 Video, including transaction between confidential
  informant and Midyett, in its entirety (“Complete 12/07/06
  Vid.”)

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  spanning pages 2 through 6 of the transcript of the video clip.

  (2/23/09 Tr. at p. 283; see 12/07/06 Vid. Tr. at 2:3-6:20.)

             The government opposed Midyett’s oral motion at the

  time it was made on February 23, 2009 and, with the court’s

  permission, submitted a written opposition on February 24, 2009.

  (Dkt. 277, Government’s Letter, dated February 24, 2009, in

  Opposition to Defendant’s February 23, 2009 Motions In Limine

  (“Gov. Opp.”); 2/23/09 Tr. at pp. 286-287).            After consideration

  of the parties’ oral and written positions and for the reasons

  set forth herein, Midyett’s motion is granted, except as

  outlined below.

                               I.   BACKGROUND

             The court assumes the parties’ familiarity with the

  underlying facts of the instant case.         See United States v.

  Brown, No. 07-cr-874, 2009 U.S. Dist. LEXIS 7777 (E.D.N.Y. Feb.

  3, 2009); United States v. Midyett, No. 07-cr-874, 2009 U.S.

  Dist. LEXIS 8865 (E.D.N.Y. Feb. 6, 2009); United States v.

  Midyett, No. 07-cr-874, 2009 U.S. Dist. LEXIS 13326 (E.D.N.Y.

  Feb. 22, 2009).    Accordingly, the court provides only a brief

  recitation of the facts pertinent to the instant motion.

             As noted above, Midyett is charged, inter alia, with

  participating in a cocaine base distribution conspiracy

  (Indictment, Count 1), and distribution and possession with

  intent to distribute cocaine base near a school and public

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  housing facility on or about December 7, 2006 (Indictment, Count

  2).   The court assumes that the December 7, 2006 drug

  distribution charge is, at least, partially based on the

  December 7, 2006 video clip in which a CI allegedly purchases

  fourteen vials of crack cocaine for from Midyett in exchange for

  $42.00.   (See 12/07/06 Vid. Clip; 12/07/06 Vid. Tr.; Complete

  12/07/06 Vid.)

             During the five minute and seven second video clip, it

  appears that the CI approaches Midyett, allegedly requests to

  purchase crack cocaine, and follows Midyett, at Midyett’s

  direction, to building 113.      (12/07/06 Vid. Clip at 0:00-1:06.)

  While the CI is following Midyett to the building, the UF

  approaches the CI and begins a conversation with the CI that

  lasts for most of the remainder of the video clip (the “CI-UF

  conversation”).    (Id. at 1:07-5:07.)       While the CI is speaking

  with the UF, they follow Midyett into building 113 at which time

  Midyett instructs the CI, who is with the UF, to wait for him at

  the bottom of the stairs, and ascends the stairs himself.                (Id.

  at 1:07-2:00.)    As the CI waits for Midyett, the CI and the UF

  continue to converse.      (Id. at 2:01-4:26.)         At the conclusion of

  the clip, the CI and the UF both ascend one flight of stairs to

  a landing where Midyett is waiting.        Contrary to the

  government’s assertions (Gov. Opp. at p. 2; 2/23/09 Tr. at p.

  286), it is unclear from the video clip whether the UF purchases

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  crack cocaine from Midyett.      The CI appears to purchase fourteen

  of what the government contends are vials of crack cocaine for

  $42.00 from Midyett.     The UF continues to speak to the CI both

  during his alleged drug purchase from Midyett, as well as

  immediately afterward when she and the CI, who appears to be

  counting his just-purchased vials, descend the stairs.

  (12/07/06 Vid. Clip at 4:27-5:07.)

             The substance of the CI-UF conversation appears, from

  the video clip and transcript, to depict: (1) banter between

  acquaintances who have not seen each other in awhile; (2) the UF

  informing the CI that she had “gotten caught,” and “if they

  catch me again,” she would “do one to three”; (3) the UF stating

  that she is going “to smoke it here”, the CI responding “If

  you’re going to smoke it here, be careful,” and the UF’s further

  response that “You know I’m not going to”; (4) discussion about

  where the UF lives, her marital state in response to the CI’s

  request for her number; and (5) recollections of previous

  experiences shared by the CI and the UF, including the UF’s

  suggestion to the CI to “hit those stores

  together”(collectively, the “Non-Drug Conversation”).2             (See


  2
            The court notes that, although the substance of the CI
  and UF’s conversation is not always entirely clear, the court
  attempted to parse the meaning of the more vague portions of the
  CI-UF conversation by viewing the complete video, approximately
  twenty-five minutes, from the CI’s session on December 7, 2006.
  (See Complete 12/07/06 Vid.)

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  12/07/06 Vid. Clip; 12/07/06 Vid. Tr. at 2:3-3:24; see generally

  Complete 12/07/06 Vid.)

             The CI and the UF also appear to discuss the price

  Midyett was allegedly charging for the the crack cocaine.               As

  this portion of the conversation appears to be central to the

  government’s opposition to Midyett’s motion to preclude, the

  government’s English translation follows:

             CI: What, what does he have nickels or
             treys?
             UF1: Whom?
             CI: This one.
             UF1: Treys, they’re three bucks.
             CI: Yeah? Oh . . .
             UF1: Three bucks.
             CI: Uh-huh. So . . .
             UF1: So that they won’t take you for a fool.
             CI: Yeah. He told me they are nickels and,
             and nah, fuck that!
             UF1: No, they’re three bucks.
             CI: Yeah.
             UF1: Look at what I’m going to give him.
             CI: Uh-huh.
             UF1: Three bucks.
             CI: Um. All right.
             UF1: [Voices overlap]. I’m going to give it
             to him first so that you can see.
             CI: Uh-huh.
             UF1: So, that they won’t take you for a
             fool.
             CI: Uh-huh. One . . .
             UF1: So, for 20 you can buy six.
             CI: How many?
             UF1: Six for 20.
             CI: [Voices overlap]. Six?
             UF1: Seven for 21.
             CI: Seven for 21?
             UF1: Uh-huh.
             CI: Okay, then. I have 40. So, then,
             seven, 14 times . . . 42, right? Because
             it’s seven for 21.

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             UF1: Uh-huh.
             CI: Okay, so then it’s 14 for 42.
             UF1: Uh-huh.
             CI: Okay. Okay, 14 then.

  (hereinafter, the “Drug Conversation”).3          (12/07/06 Vid. Tr. at

  3:25-5:08; see Gov. Opp. at pp. 2-3; 12/07/06 Vid. Clip at 2:44-

  3:33.)

                              II.   DISCUSSION

             Midyett moves to preclude the entire CI-UF

  conversation because “it is not 801(d)(2)(E) material.”4

  (2/23/09 Tr. at p. 283.)      The government orally opposed the

  motion on February 23, 2009, asserting that the CI’s

  conversation with the UF, referring to the Drug Conversation,

  was “central to understanding the context of [the] video [clip]”

  because the UF “does[,in fact,] buy crack from Midyett” in the

  video clip, and the UF informs the CI regarding the price

  Midyett generally charges for crack cocaine.           According to the

  government, this information demonstrates that Midyett is “out


  3
            With regard to the events depicted in the video and
  set forth in the corresponding transcript, the court makes no
  finding of fact except for purposes of this motion. Factual
  determinations are the sole province of the jury.
  4
             Fed. R. Evid. 801(d)(2)(E) provides in relevant part:

             A statement is not hearsay if . . . The
             statement is offered against a party and is
             . . . a statement by a coconspirator of a
             party during the course and in furtherance
             of the conspiracy.


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  there on a regular basis and part of this conspiracy as opposed

  to just a random -- you know, a person who sells one or two

  vials here and there.”      (2/23/09 Tr. at pp. 286-87.)         Further,

  in its written response, again referring only to the Drug

  Conversation,5 the government proposes that “the conversation

  between the CI and the UF is [also] central to understanding why

  Midyett and the CI agree on the $42 as the price for the

  fourteen crack vials.”      (Gov. Opp. at p. 2.)       Thus, the

  government asserts, the UF’s statements are “not hearsay” as

  they are not offered for their truth, but rather “to put

  Midyett’s actions in context and make clear why Midyett and the

  CI agreed on $42 as the price for the fourteen crack vials.”

  (Id. at 3) (emphasis added).      Notably, the government does not

  make the same argument regarding the CI’s statements.               Nor does

  the government provide any other basis to admit the CI’s out-of-

  court statements.      (See Gov. Opp. at pp. 2-3; 2/23/09 Tr. at pp.

  286-87.)

             The court finds that neither the CI’s statements nor

  the UF’s statements fall under any hearsay exception under


  5
            Although the government only refers to the Drug
  Conversation in its oral argument and opposition papers, for
  purposes of Midyett’s motion to preclude the entire CI-UF
  conversation at pages 2 through 6 of the transcript of the
  12/07/06 video clip, the court will consider the government’s
  opposition to apply to the entire disputed CI-UF conversation,
  including the Non-Drug Conversation and the Drug Conversation.
  (See Gov. Opp. at pp. 2-3; 2/23/09 Tr. at 286-87.)

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  Federal Rule of Evidence (“FRE”) 803.         Nor are they non-hearsay

  prior statements of a witness pursuant to FRE 801(d)(1),

  admissions of a party-opponent under 801(d)(2)(A), nor co-

  conspirator statements in furtherance of a conspiracy under FRE

  801(d)(2)(E).    Accordingly, the only avenue for admissibility of

  the CI’s statements is the same avenue being proffered by the

  government for the UF’s statements: the statements are being

  proffered for the non-hearsay purposes of providing background

  or context and not for the truth of the matters asserted.               The

  court finds, however, that the CI-UF conversation is

  inadmissible as (1) irrelevant (with regard to the Non-Drug

  Conversation) to the issues being tried; (2) inadmissible

  hearsay; and (3) any probative value is outweighed by the risk

  of unfair prejudice.

             A. The Non-Drug Conversation Is Irrelevant
                Evidence And Inadmissible Under
                Federal Rules of Evidence 401 and 402.

             The court finds that the Non-Drug Conversation between

  the CI and the UF is not relevant evidence as defined by FRE

  401.   The Non-Drug Conversation does not have “any tendency to

  make the existence of any fact that is of consequence to the

  determination of the action more probable or less probable that

  it would be without the evidence.”        Fed. R. Evid. 401.        Indeed,

  the subject matter of the Non-Drug Conversation does not relate

  to any of the issues being tried in the instant case; rather the

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Non-Drug Conversation is simply, idle chit-chat.          Accordingly,

the Non-Drug Conversation is not relevant evidence and thus,

inadmissible pursuant to FRE 402.6

           B. The Drug Conversation Is Offered For The Truth Of
              The Matter Asserted And Is Inadmissible Hearsay.

           The court also finds that the Drug Conversation

between the CI and the UF is inadmissible hearsay.           Indeed,

notwithstanding the government’s bald contention that the Drug

Conversation is simply not hearsay, one of the non-hearsay

purposes for which the government proffers such evidence

supports the court’s finding that the Drug Conversation is, in

fact, being offered for the truth of the matter asserted and

thus, is inadmissible hearsay.       Namely, the government asserts

that the Drug Conversation is being proffered to “make clear why

Midyett and the CI agree on $42 as the price for the fourteen

crack vials” (Gov. Opp. at p. 3).        Considering, however, that

the Drug Conversation proves the price charged by Midyett for

the crack cocaine he allegedly sold and for which he is charged

with distributing on December 7, 2006, the court is hard pressed

to accept the government’s contention that the Drug Conversation

is not being offered for the truth of the matter asserted, i.e.,

that the UF was correct in informing the CI that Midyett charged


6
          Federal Rule of Evidence 402 provides in relevant part
that “All relevant evidence is admissible . . . . Evidence
which is not relevant is not admissible.” Fed. R. Evid. 402.

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“three bucks” for each vial of crack cocaine.          (12/07/06 Vid.

Tr. at 3:25-5:08.)       Thus, as it is being offered for the truth

of the matter asserted, the Drug Conversation constitutes

hearsay and is inadmissible.       See, e.g., United States v.

Pedroza, 750 F.2d 187, 200 (2d Cir. 1984).

           C. The Government’s Reliance On United States v. Davis
              Is Misplaced As The Principles Set Forth In Davis
              Are Wholly Inapplicable To The Instant Case.

           Even assuming, arguendo, that the Drug Conversation is

not hearsay, before considering the Drug Conversation’s

probative value versus prejudicial effect as set forth in

section II(D), infra, the court addresses a fundamental

misunderstanding by the government regarding the circumstances

that will justify the admission of the Drug Conversation for the

non-hearsay purpose of providing context and/or background.             The

government relies, to no avail, on United States v. Davis, 890

F.2d 1373 (7th Cir. 1989) as support for its contention that the

Drug Conversation is admissible for the non-hearsay purpose of

providing context for Midyett’s actions and alleged

participation in a drug conspiracy.        Davis, however, is

inapposite.

           Under Davis, in the Seventh Circuit (as in the Second

Circuit), “tape recorded conversations between a defendant and a

third party informant are admissible where the defendant’s

statements are offered as verbal acts or admissions and the

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third party’s statements are necessary to place the defendant’s

statement in proper context.”       890 F.2d at 1380 (emphasis

added); United States v. Barone, 913 F.2d 46, 49 (2d Cir. 1990)

(the district court properly admitted evidence of an informant’s

recorded statements during a conversation with the defendant

where they were presented not for the truth of the matter

asserted, but to establish a context to assist the jury with

understanding the recorded statements of the defendant, i.e.,

his admissions); United States v. Walker, No. 99-cr-379, 1999

U.S. Dist. LEXIS 15257, at *10 (S.D.N.Y. Sept. 29, 1999) (same).

Davis and similar cases note that when a defendant has an out-

of-court recorded conversation with a third party, and the

defendant’s statements are already admissible as non-hearsay

defendant admissions under FRE 801(d)(2)(A), then the third

party’s responses to the defendant during the recorded

conversation are admissible “as reciprocal and integrated

utterances between two parties for the limited purpose of

putting the response of the defendant in context of making them

intelligible to the jury and recognizable as admissions.”

Davis, 890 F.2d at 1380 (quotations and citation omitted).

United States v. Perez has extended this principle to admit a

third party informant’s statements made during a conversation

with a co-conspirator so long as the co-conspirator’s statements

are admissible as non-hearsay under Rule 801(d)(2)(E).            Perez,

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No. 05-cr-441, 2005 U.S. Dist. LEXIS 24444, at *5-7 (S.D.N.Y.

Oct. 20, 2005).

           Unlike in Davis, Barone, Walker or Perez, the CI-UF

Drug Conversation does not include as a participant either a

defendant or a co-conspirator, whose non-hearsay statements

would be admissible as admissions under FRE 801(d)(2)(A) or as

co-conspirators’ statements in furtherance of a conspiracy under

FRE 801(d)(2)(E), respectively.        Moreover, neither the CI’s nor

the UF’s statements during the Drug Conversation could be

classified as non-hearsay under Barone and its progeny,

irrespective of the fact that neither of the parties to the

conversation is a defendant or co-conspirator.           Indeed, instead

of focusing on the identity of the parties in the conversation,

Perez suggests that “what matters is whether the statements for

which the informant's statements provide context are hearsay.”

2005 U.S. Dist. LEXIS 24444, at *6.         If the statements for which

the informant’s statements provide context are non-hearsay as

defined in FRE 801(d), then the informant’s statements are also

non-hearsay and admissible to provide context.           Id.   In

contrast, in the instant case, neither the CI’s nor the UF’s

statements during the Drug Conversation qualify as non-hearsay

under FRE 801(d).        Accordingly, Davis, Barone, and their progeny

are wholly inapplicable to the admissibility of the CI-UF

conversation.

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           D. The Drug Conversation Is Inadmissible For The Non-
              Hearsay Purpose Of Providing Context As Its
              Prejudicial Effect Outweighs Its Probative Value.

           The appropriate analysis to determine the

admissibility of out-of-court statements offered for a purpose

other than the truth is grounded in Federal Rules of Evidence

401 and 403.    United States v. Paulino, 445 F.3d 211, 217 (2d

Cir. 2006); United States v. Reyes, 18 F.3d 65, 70 (2d Cir.

1994).   Assuming, arguendo, that the Drug Conversation is not

inadmissible hearsay, under FRE 401, the court must first

determine whether the “non-hearsay purpose for which the

evidence is sought to be justified is relevant, i.e., . . . it

supports or diminishes the likelihood of any fact ‘that is of

consequence to the determination of the action.’”           Reyes, 18

F.3d at 70 (citing Fed. R. Evid. 401); see Paulino, 445 F.3d at

217.   Second, under FRE 403, “the probative value of this

evidence for its non-hearsay purpose [must be] outweighed by the

danger of unfair prejudice resulting from the impermissible

hearsay use of the declarant’s statement.”         Reyes, 18 F.3d at

70; Paulino, 445 F.3d at 217; Fed. R. Evid. 403.          Moreover,

although the district courts have broad discretion in their

rulings regarding the relevancy and unfair prejudice of the

proffered evidence, the Second Circuit has “identified ‘two

common scenarios’ in which evidence offered not for its truth

may appropriately be received as relevant background: (1) to

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“‘clarify noncontroversial matters without causing unfair

prejudice on significant disputed matters,’” and (2) as

“‘appropriate rebuttal to initiatives launched by the

defendant.’”    Paulino, 445 F.3d at 217.      Neither circumstance

obtains here.

           In determining the relevance and importance of such

evidence, courts have asked:

           (i) Does the background . . . evidence
           contribute to the proof of the defendant's
           guilt? . . . (ii) If so, how important is it
           to the jury's understanding of the issues?
           (iii) Can the needed explanation of
           background . . . be adequately communicated
           by other less prejudicial evidence or by
           instructions? (iv) Has the defendant engaged
           in a tactic that justifiably opens the door
           to such evidence to avoid prejudice to the
           Government?

Reyes, 18 F.3d at 70.      Furthermore, to assess the potential for

unfair prejudice by the introduction of this testimony, courts

have considered the following factors:

           (v) Does the declaration address an
           important disputed issue in the trial? . . .
           Is the same information shown by other
           uncontested evidence? . . . (vi) Was the
           statement made by a knowledgeable declarant
           so that it is likely to be credited by the
           jury? (vii) Will the declarant testify at
           trial, thus rendering him available for
           cross-examination? If so, will he testify to
           the same effect as the out-of-court
           statement? Is the out-of-court statement
           admissible in any event as a prior
           consistent, or inconsistent, statement?
           (viii) Can curative or limiting instructions


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            effectively protect against misuse or
            prejudice?

Id. at 70-1.    In this case, virtually every variable weighs

against the admission of the evidence of the CI-UF Drug

conversation.

            The non-hearsay purpose proffered by the government to

introduce the Drug Conversation is to put “Midyett’s actions in

context.”    (Gov. Opp. at p. 3.)     Although the government does

not specify which of Midyett’s actions the Drug Conversation

will put into context, the government asserts that such evidence

will (1) demonstrate that Midyett is “out there on a regular

basis and part of this conspiracy as opposed to just a random --

you know, a person who sells one or two vials here and there,”

and (2) “make clear why Midyett and the CI agree on $42 as the

price for the fourteen crack vials.”        (2/23/09 Tr. at pp. 286-7;

Gov. Opp. at pp. 2-3.)      The court finds that the government’s

proffered non-hearsay purpose for the Drug Conversation is only

minimally relevant with respect to Midyett’s drug conspiracy

charge, but is relevant to the charge against Midyett for drug

distribution on December 7, 2006.

            “The only elements of a . . . narcotics conspiracy

offense are the existence of a conspiracy and the defendant's

willful joining it.”      United States v. Torres, No. 1:07-cr-15,

2008 U.S. Dist. LEXIS 81527, at *4 (N.D.N.Y. Oct. 14, 2008)


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(citing United States v. Story, 891 F.2d 988, 992 (2d Cir.

1989)).   Assuming, arguendo, that the CI-UF Drug Conversation

does provide context for the price Midyett charged for crack

cocaine on December 7, 2006 and for the alleged fact that

Midyett was not an occasional and random drug dealer, the court

finds that this context evidence is minimally relevant to the

elements of the conspiracy charge.        See, e.g., Reyes, 18 F.3d at

71.   Such context evidence would not contribute to proof of

Midyett’s guilt for the conspiracy charge; namely, that a drug

conspiracy existed and that Midyett knew of and participated in

the conspiracy.7

           The outcome differs with respect to the charge against

Midyett for drug distribution on December 7, 2006.           The elements

of an offense for drug distribution are the knowing possession

of a quantity of drugs with the intent to distribute them.

Morales v. United States, No. 01-cv-7194, 2002 U.S. Dist. LEXIS

7321, at *14 (S.D.N.Y. Apr. 25, 2002) (citing United States v.

Martinez, 44 F.3d 148, 151 (2d Cir.), vacated on other grounds,

54 F.3d 1040 (2d Cir.), cert. denied, 516 U.S. 1001 (1995)).

Here, the court finds that the proffered non-hearsay purpose of

the Drug Conversation, i.e., to provide context for the price

7
          As the court determines that there is no legitimate
need for such background and/or context with respect to the drug
conspiracy charge, the statements are, in reality, being offered
to prove the truth of the matter asserted, and is thus,
inadmissible hearsay.

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Midyett charged for crack cocaine and the alleged fact that

Midyett was not an occasional and random drug dealer, will

contribute to the proof of whether Midyett knowingly possessed

with the intent to distribute crack cocaine on December 7, 2006.

Although such context evidence may be helpful to the jury’s

understanding of the issues, the court finds that the “needed

explanation of background” could be adequately communicated with

other less prejudicial evidence, e.g., the remainder of the

video clip depicting what appears to be Midyett’s sale of crack

cocaine to the CI, the CI’s testimony, and the testimony of

other government witnesses.       See Reyes, 18 F.3d at 70.       Thus,

although relevant, the court finds that the Drug Conversation is

not so relevant as to render such evidence necessary to the

government’s case.

           The court next weighs its finding of relevance against

the risk for unfair prejudice resulting from the admission of

the statements made by the CF and the UF during the Drug

Conversation and finds that the risk of prejudice posed

substantially outweighs the probative value of such evidence.

The potential for prejudice, if these statements were admitted

at trial, is great because: (1) the Drug Conversation relates to

important issues in dispute, i.e., whether Midyett deals crack

cocaine; (2) although the CI may testify at trial, the UF, whose

statements are more substantive with respect to Midyett’s

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alleged drug dealing than the CI’s, is not anticipated to

testify based on the information in the record (specifically,

the government’s witness list); and (3) a curative and limiting

instruction would have little to no effect in eliminating the

risk that the jury will improperly consider the Drug

Conversation for its truth, given that the Drug Conversation

shows that Midyett was selling crack cocaine for a certain

price.   Cf. Reyes, 18 F.3d at 70-2.

           Accordingly, as the risk of unfair prejudice

significantly outweighs the probative value of the Drug

Conversation for the proffered non-hearsay purpose of providing

context, and as the court has found that the Non-Drug

Conversation is inadmissible as irrelevant evidence, the court

grants Midyett’s motion to preclude the government from

introducing (in the video clip, in the complete video, and in

the transcript,) the Non-Drug Conversation and, except as

provided herein, specific portions of the CI-UF Drug

Conversation, taking into account some practical and technical

considerations.     The court notes that limited portions of the

CI-UF conversation overlap with segments of the video where

Midyett is present and/or where Midyett is speaking.           Midyett’s

statements on the video, however, are admissible as defendant

admissions under Rule 801(d)(2)(A).        Thus, as defense counsel

represented at the February 23, 2009 conference following the

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jury selection that he could “live with” “little snippets” of

inconsequential conversation between the CI and others (2/23/09

Tr. at p. 282,) the court rules as follows: (1) The government

shall remove the audio from 1:07 through 1:49 of the 12/07/06

video clip (GX 54, 12.7.2006_CD9.wmv); the government shall

remove the audio from the corresponding section from the

complete 12/07/06 video (GX 5), i.e., from 14:27:54 through

14:28:38; and the government shall redact the corresponding

lines from the transcript (GX 5A), i.e., lines 2:03 through

2:21.   (2) The government shall remove the audio from 2:01

through 4:26 of the 12/07/06 video clip (GX 54,

12.7.2006_CD9.wmv); the government shall remove the audio from

the corresponding section from the complete 12/07/06 video (GX

5), i.e., 14:28:38 through 14:30:57; and the government shall

redact the corresponding lines from the transcript (GX 5A),

i.e., lines 3:01 through 6:10.       (3) The remaining audio and

visual portions of the 12/07/06 video clip (GX 54,

12.7.2006_CD9.wmv) and the corresponding sections from the

complete 12/07/06 video (GX5) and the transcript (GX 5A) shall

remain intact and may be played for the jury.8         (4) The



8
          Although not in dispute, the court notes that the CI’s
statements to Midyett during his conversation with Midyett are
admissible non-hearsay as Midyett’s statements are non-hearsay
defendant admissions and the CI’s statements are simply being
offered to place Midyett’s admissions in proper context. See

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government shall review its exhibits and if copies of the same

video clips or transcripts exist in other exhibits, the

government shall inform the court and shall redact the

corresponding lines or remove the audio from the corresponding

portions of the video in the other exhibits consistent with this

opinion.

                           III.    CONCLUSION

           For the foregoing reasons, the court grants Midyett’s

motion to preclude the government from introducing (in the video

clip, in the complete video, and in the transcript,) the Non-

Drug Conversation in its entirety, and specific sections of the

CI-UF Drug Conversation within the practical and technical

considerations delineated above.


SO ORDERED.

Dated: March 1, 2009
       Brooklyn, New York

                                         _______    /s/______
                                         KIYO A. MATSUMOTO
                                         United States District Judge
                                         Eastern District of New York




Barone, 913 F.2d at 49; Walker, 1999 U.S. Dist. LEXIS 15257, at
*10.

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